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                                UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                    MIDLAND/ODESSA DIVISION

Omar Castro, individually and on                       §
Behalf of all those similarly situated                 §
                                                       §
                 Plaintiff,                            §    CA No. 7:17-CV-00223-RAJ
                                                       §
v.                                                     §
                                                       §
Keane Group, LLC, Keane Frac, LP;                      §    Jury Demanded
                                                       §
                 Defendants                            §
                                                       §

                DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS

        Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Keane Frac, LP and Keane

Group, LLC1 submit Defendants’ Certificate of Interested Persons. The following is a list of

persons that are financially or otherwise interested in the outcome of this litigation:

1. Keane Frac, LP
   c/o Carrie B. Hoffman
   Gardere Wynne Sewell
   2021 McKinney Avenue, Suite 1600
   Dallas, Texas 75021
   214-999-4262

2. Keane Group Holdings, LLC
   c/o Carrie B. Hoffman
   Gardere Wynne Sewell
   2021 McKinney Avenue, Suite 1600
   Dallas, Texas 75021
   214-999-4262




1
 Keane Group, LLC is not an entity registered to do business in Texas and to Keane Frac, LP’s knowledge, Keane
Group, LLC does not exist. To the extent a Certificate of Interested Parties is required from Keane Group, LLC,
Keane Frac, LP submits this Certificate of Interested Parties on behalf of the Keane Group, LLC.


DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS                                                           PAGE 1
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3. Keane Frac GP LLC
   c/o Carrie B. Hoffman
   Gardere Wynne Sewell
   2021 McKinney Avenue, Suite 1600
   Dallas, Texas 75021
   214-999-4262

4. Keane Group, Inc. is a publicly held corporation that owns 10% or more of the stock of any
   Defendant.
   c/o Carrie B. Hoffman
   Gardere Wynne Sewell
   2021 McKinney Avenue, Suite 1600
   Dallas, Texas 75021
   214-999-4262

5. Omar Castro
   c/o Chris R. Miltenberger
   The Law Office of Chris R. Miltenberger, PLLC
   1340 N. White Chapel, Suite 100
   Southlake, Texas 76092-4322
   817-416-5060

6. Mario Telles
   c/o Chris R. Miltenberger
   The Law Office of Chris R. Miltenberger, PLLC
   1340 N. White Chapel, Suite 100
   Southlake, Texas 76092-4322
   817-416-5060

7. Porfirio Barrios Jr.
   c/o Chris R. Miltenberger
   The Law Office of Chris R. Miltenberger, PLLC
   1340 N. White Chapel, Suite 100
   Southlake, Texas 76092-4322
   817-416-5060

8. Any additional opt-in plaintiffs.

9. The Law Office of Chris R. Miltenberger, PLLC
   1340 N. White Chapel, Suite 100
   Southlake, Texas 76092-4322
   817-416-5060




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     DATED: December 22, 2017

                                            Respectfully submitted,

                                            /s/ Carrie B. Hoffman
                                            Carrie B. Hoffman
                                            Texas Bar No. 00787701
                                            Sandra L. Jonas
                                            Texas Bar No. 24091631
                                            GARDERE WYNNE SEWELL LLP
                                            2021 McKinney Avenue, Suite 1600
                                            Dallas, TX 75201
                                            Telephone: (214) 999-4262
                                            Facsimile: (214) 999-3262
                                            E-mail: choffman@gardere.com
                                            E-mail: sjonas@gardere.com

                                            ATTORNEYS FOR DEFENDANTS


                               CERTIFICATE OF SERVICE

       Pursuant to ECF rules, this document shall be electronically served to all counsel of
record in this matter via the Court’s Notice of Electronic Filing automatically generated by the
ECF system.



                                            /s/ Sandra L. Jonas
                                            Sandra L. Jonas




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